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Are you seeking reimbursement for expenses related to job search costs you incurred looking for altemate employment after
the Spill: Y/

Enter the amount you claim as job search reimbursement expenses:

One Time, Non-Recurring Loss

Are you seeking losses associated with a One Time, Non-Recurring Event: = Y / &)

Enter the amount you claim related to the cancellation:

This section MUST be filled out by the claimant in their own hand without assistance from any associate.

Income Sources and Description

Describe in detail Sources of income and types of employer you had at the time of the oii Spill April 20" 2010.

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Describe in detail the nature of business your employers business and where the business operates and what services your
employer performs and how the Deepwater Horizon oil spill April 20", 2010 affected their business):

x wash Sev attached docuungn Tsk

Individual Disclaimer

| attest that the information-included in this form as accurate and truthful to the best of my recollection:

Signed l

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Print Name ( O12. ke fo

Lk ge C Date 3| a 13

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